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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION
In re:

EDUARDO GARRIDO                                           CASE NO. 19-bk-08523-MGW
MARY ANN GARRIDO                                          CHAPTER 7

                  Debtors.
_______________________________/

                 MOTION FOR RELIEF FROM THE AUTOMATIC STAY

             NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING

PURSUANT TO LOCAL RULE 2002-4, THE COURT WILL CONSIDER THE RELIEF
REQUESTED IN THIS PAPER WITHOUT FURTHER NOTICE OR HEARING UNLESS
A PARTY IN INTEREST FILES A RESPONSE WITHIN TWENTY-ONE (21) DAYS
FROM THE DATE SET FORTH ON THE ATTACHED PROOF OF SERVICE, PLUS AN
ADDITIONAL THREE DAYS FOR SERVICE IF ANY PARTY WAS SERVED BY U.S.
MAIL.

IF YOU OBJECT TO THE RELIEF REQUESTED IN THIS PAPER, YOU MUST FILE A
RESPONSE WITH THE CLERK OF THE COURT AT THE SAM M. GIBBONS UNITED
STATES COURTHOUSE, 801 N. FLORIDA AVENUE, SUITE 555, TAMPA, FL 33602
AND SERVE A COPY ON THE MOVANT’S ATTORNEY, GAVIN STEWART, P.O. BOX
5703, CLEARWATER, FL 33758, AND ANY OTHER APPROPRIATE PERSONS
WITHIN THE TIME ALLOWED. IF YOU FILE AND SERVE A RESPONSE WITHIN
THE TIME PERMITTED, THE COURT WILL EITHER SCHEDULE AND NOTIFY
YOU OF A HEARING, OR CONSIDER THE RESPONSE AND GRANT OR DENY THE
RELIEF REQUESTED WITHOUT A HEARING.

IF YOU DO NOT FILE A RESPONSE WITHIN THE TIME PERMITTED, THE COURT
WILL CONSIDER THAT YOU DO NOT OPPOSE THE RELIEF REQUESTED IN THE
PAPER, WILL PROCEED TO CONSIDER THE PAPER WITHOUT FURTHER NOTICE
OR HEARING, AND MAY GRANT THE RELIEF REQUESTED.

         Specialized Loan Servicing LLC as servicing agent for The Bank of New York Mellon

FKA The Bank of New York, as Trustee for the certificateholders of the CWABS, Inc., Asset-

Backed Certificates, Series 2006-15 (“Movant”) moves the Court, pursuant to 11 U.S.C. §362(d),

for relief from the automatic stay and states:
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       1.      On June 21, 2006, Debtors executed and delivered a promissory note and mortgage

securing payment of the note in favor of Countrywide Home Loans, Inc.

       2.      Specialized Loan Servicing LLC services the loan on the Property referenced in

this Motion. In the event the automatic stay in this case is modified, this case dismisses, and/or

the Debtor obtains a discharge and a foreclosure action is commenced on the mortgaged property,

the foreclosure will be conducted in the name of Movant or Movant’s successor or assignee.

Movant, directly or through an agent, has possession of the promissory note and has the ability to

enforce and foreclose its lien. The note has been duly endorsed and Movant is the assignee of the

mortgage. A copy of the promissory note, mortgage and assignment of mortgage is attached hereto

as Composite Exhibit “A.”

       3.      The mortgage is secured by the following real property located in Pasco County,

Florida:




AKA 8735 Crescent Forest Blvd., New Port Richey, Florida 34654 (“Property”)

       4.      The loan is in default. As of November 22, 2019, the total debt owed was

$268,223.75 and the loan is due for the May 1, 2019 payment and all subsequent payments.
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       5.      According to the Pasco County Property Appraiser, the value of the Property is

$269,241.00. A copy of the property record is attached hereto as Composite Exhibit “A.”

       6.      It would be inequitable to allow the Debtors to retain the Property, as there is little

to no equity above the total indebtedness.

       7.      Furthermore, Movant is not receiving payments to protect against the erosion of its

security interest in the Property.

       8.      If Movant is not permitted to enforce its lien on the Property, it will suffer

irreparable injury, loss, and damage.

       WHEREFORE, Movant, respectfully requests the Court enter an order:

               a.      terminating the automatic stay;

               b.      permitting Movant to take any and all steps necessary to exercise any and

all rights it may have in the Property described herein; and

               c.      granting such other relief that the Court may deem just and proper.

                                                  /s/ Gavin N. Stewart
                                                  Gavin N. Stewart, Esquire
                                                  Florida Bar Number 52899
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                                                  Clearwater, FL 33758
                                                  P: (727) 565-2653
                                                  F: (727) 213-9022
                                                  E:bk@stewartlegalgroup.com
                                                  Counsel for Movant


                                     CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served by CM/ECF notice

and first class mail this 26th day of November, 2019.

                                                  /s/ Gavin N. Stewart
                                                  Gavin N. Stewart, Esquire
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VIA FIRST CLASS MAIL
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Trustee
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